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11   UNITED STATES OF AMERICA

12                          UNITED STATES DISTRICT COURT

13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

14
     UNITED STATES OF AMERICA,               No. SA CR 21-124-JLS
15
               Plaintiff,                    GOVERNMENT’S MOTION FOR ORDER
16                                           FINDING DEFENDANT IN BREACH OF
                     v.                      PLEA AGREEMENT
17
     CHRISTOPHER JOHN BADSEY,                Hearing Date:     April 12, 2024
18                                                             10:30 a.m.
               Defendant.
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22        Plaintiff United States of America, by and through its counsel
23   of record, the United States Attorney for the Central District of
24   California and Assistant United States Attorneys Kristin Spencer and
25   Melissa Rabbani, hereby moves the Court for an order finding
26   defendant Christopher John Badsey in breach of the plea agreement
27   filed in this matter on April 7, 2023.
28        At a hearing in this matter on February 9, 2024, the government
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 1   notified defendant’s newly appointed counsel, Patrick McLaughlin, of

 2   the substance of this motion.

 3        The government’s motion is based upon the attached memorandum of

 4   points and authorities, the attached declaration of Melissa Rabbani

 5   and exhibits thereto, the files and records in this case, and any

 6   other evidence or argument that the Court may permit.

 7

 8   Dated:   February 23, 2024           Respectfully submitted,

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13                                        _/s/ Melissa S. Rabbani_______
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 1                     MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.   INTRODUCTION

 3        Defendant Christopher John Badsey (“defendant”) was charged with

 4   four counts of wire fraud and two counts of money laundering after

 5   falsely promising to sell millions of boxes of nitrile gloves to

 6   buyers in the early months of the COVID-19 pandemic.          Last year, just

 7   before trial, defendant signed a plea agreement.          Under the terms of

 8   the agreement, defendant promised, among other things, to plead

 9   guilty to the wire fraud counts and to be truthful in his

10   communications with the United States Probation and Pretrial Services

11   Office (the “USPO”) and the Court.       In exchange, the government

12   agreed to dismiss the money laundering counts and to recommend a

13   sentence at the low end of the resulting Guidelines range.

14        Sentencing was initially scheduled for February 9, 2024.

15   Defendant submitted a sentencing position on January 26, 2024,

16   attaching a number of exhibits, including “multiple letters of

17   support” from purported friends and acquaintances and a purported

18   medical “record” documenting a brain cancer diagnosis from 2017.              See

19   Dkt. 72 at 3; Dkt. 72-1 at 10, 12-28.        The USPO and the government

20   contacted several of the purported authors of those character letters

21   and learned not only that those letters had been forged, but that

22   following his initial appearance in 2021, defendant forged the

23   signature of his purported surety, Trevor Ullom, and used a copy of

24   Mr. Ullom’s driver’s license without authorization.

25        Plainly, defendant has breached his plea agreement: he has been

26   profoundly untruthful in his communications with this Court.

27        The government respectfully requests that the Court enter an

28   order finding that defendant has breached his plea agreement.            Upon
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 1   such a finding, the government will be released from its obligations

 2   under the plea agreement, including its promise to recommend a

 3   sentence at the low end of the applicable Guidelines range.

 4   II.   RELEVANT FACTS

 5         Defendant’s sentencing position attaches character references

 6   from seven people: Frances Smith, a family counselor who worked with

 7   defendant and his daughter; Trevor Ullom, who worked with defendant

 8   in the Boy Scouts of America; Steve Morris, a retired Navy officer

 9   and Special Agent who “share[d] a close bond of friendship of 33

10   years” with defendant; David Brackmann, a “licensed broker” who has

11   known defendant for “31 years”; Marco Antonnio Ribas, who “share[d] a

12   close bond of friendship of more than twenty three years of business,

13   fishing, and friendship” with defendant; John Cooper, a “retired

14   deputy Orange County Sheriff” who has “personally known” defendant

15   for 25 years; and Wayne Harmond, a construction executive who has

16   been friends with defendant for 18 years.        Dkt. 72-1 at 12-28.      The

17   sentencing position also attaches a purported medical record from St.

18   Joseph Health, dated in June 2017, diagnosing defendant with “Frontal

19   Lobal Stage IV cancer” and affirming that the “Frontal Lobal Tumor”

20   causes “behavioral, and emotional changes, impaired Judgement, memory

21   loss, paralysis on one side of the body, reduced mental abilities and

22   vision loss.”   Dkt. 72-1 at 10.

23         On their face, many of the documents defendant submitted appear

24   questionable.   Many of the character references are written in a

25   similar style, and several refer to the same or similar seemingly

26   irrelevant details.    The purported medical record clearly does not

27   look like an authentic medical record and is replete with spelling

28   and grammatical errors.

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 1        After reviewing defendant’s sentencing position, U.S. Probation

 2   Officer Leslie de la Torre contacted several of the purported authors

 3   of the character letters.     David Brackmann confirmed that he knew

 4   defendant and that he, along with several more of the purported

 5   authors – Marco Ribas, Steve Morris, and Wayne Harmond – had met

 6   defendant on fishing expeditions.          Declaration of Melissa Rabbani

 7   (“Rabbani Decl.”) ¶ 4.     However, Mr. Brackmann told Officer de la

 8   Torre that he did not write a character letter for defendant.            Id.

 9   Mr. Brackmann also gave Officer de la Torre contact information for

10   Mr. Morris and Mr. Harmond.      Id.

11        Officer de la Torre then contacted Mr. Morris and Mr. Harmond,
12   both of whom denied writing any character letter for defendant.
13   Rabbani Decl. ¶ 5.    Mr. Harmond added that he had not had any contact
14   with defendant for over 15 years.          Id.
15        Finally, Officer de la Torre contacted Robert Trevor Ullom, who
16   stated that he had met defendant only four years ago and had not
17   written any character letter for defendant.         Rabbani Decl. ¶ 6.
18   Officer de la Torre also sent Mr. Ullom a surety form that defendant
19   submitted to the Court in July 2021, purporting to bear Mr. Ullom’s

20   signature and containing his address and the last four digits of his

21   Social Security Number.     Officer de la Torre also sent Mr. Ullom a

22   copy of Mr. Ullom’s driver’s license that the Federal Public

23   Defender’s office had sent to the government when seeking approval of

24   the surety form.    Id. ¶ 7; Dkts. 14, 15.       Mr. Ullom told Officer de

25   la Torre that he had never signed the surety form.          He also explained

26   that he had sent a copy of his driver’s license to defendant years

27   ago when applying for a job with defendant’s company, but had not

28   authorized defendant to use his license for the surety form.            Id.

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 1   III. ARGUMENT

 2         Plea bargains are “contractual in nature” and subject to

 3   contract-law standards.     United States v. Sandoval-Lopez, 122 F.3d

 4   797, 800 (9th Cir. 1997).     Thus, “either party can be said to

 5   ‘breach’ a plea bargain if it fails to live up to the promises it

 6   made under the terms of the agreement.”        Id.   Where a defendant has

 7   breached the plea agreement, “courts have found the government to be

 8   free from its obligations.”      Id. (citations omitted).       The government

 9   bears the burden of demonstrating a defendant’s breach by a

10   preponderance of the evidence.      United States v. Plascensia-Orozco,

11   852 F.3d 910, 920 (9th Cir. 2017) (citing United States v. Packwood,
12   848 F.2d 1009, 1011 (9th Cir. 1988)).
13         Here, the plea agreement plainly requires defendant to “[b]e
14   truthful at all times with the United States Probation and Pretrial
15   Services Office and the Court.”       Dkt. 57 at 2(f).
16         The evidence in this case makes abundantly clear that defendant
17   knowingly and willfully submitted forged and fraudulent documents to
18   this Court – first in 2021 to secure his release on bond, and again
19   in 2024 in the hopes of lowering his sentence.         Defendant has

20   repeatedly failed to be truthful in his communications with the

21   Court.   He has repeatedly and willfully breached the terms of his

22   plea agreement, and the government should be released from its

23   obligations under that agreement.

24   IV.   CONCLUSION

25         As set forth above, the government respectfully requests that

26   this Court enter an order finding that defendant has breached the

27   plea agreement filed on April 7, 2023, and that the government is

28   released from its obligations under that agreement.

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